       Case 2:09-cr-00074-JAM-AC Document 170 Filed 03/16/12 Page 1 of 6


 1

 2

 3

 4

 5

 6

 7

 8                         UNITED STATES DISTRICT COURT
 9                        EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,            )   Case No. 2:09-CR-00074 JAM
                                          )
12                       Plaintiff,       )   ORDER DENYING DEFENDANT’S
                                          )   MOTION FOR ACQUITTAL AND
13        v.                              )   MOTION FOR A NEW TRIAL
                                          )
14   DUANE ALLEN EDDINGS,                 )
                                          )
15                       Defendant.       )
                                          )
16                                        )
                                          )
17

18        This matter is before the Court on Defendant Duane Eddings’s

19   (“Eddings”) Motion for Acquittal and Motion for New Trial (Doc. #

20   155).     The United States of America (the “government”) opposes the

21   motion (Doc. # 166), and Eddings filed a reply to the opposition

22   (Doc. # 169).    Eddings moves the Court for judgment of acquittal

23   and a new trial on Counts 3 and 4 of the Superseding Indictments,

24   arguing there was insufficient evidence from which the jury could

25   reasonably find Eddings guilty; on Counts 8, 9, and 10 of the

26   Superseding Indictment on the grounds that the government either

27   constructively amended the indictment at trial or fatally varied

28   from the indictment; and on Counts 11 and 12 on the grounds that


                                         1
       Case 2:09-cr-00074-JAM-AC Document 170 Filed 03/16/12 Page 2 of 6


 1   the government provided insufficient evidence to support a

 2   conviction.   For the reasons set forth below, Eddings’s motion is

 3   DENIED in its entirety.

 4                                   I. LEGAL STANDARD

 5         When considering a Rule 29 motion for a judgment of acquittal,

 6   the evidence adduced at trial is viewed in the light most favorable

 7   to the government, and an acquittal should not be ordered where

 8   “any rational trier of fact could find each essential element of

 9   the crime beyond a reasonable doubt.”        United States v. Mosley, 465
10   F.3d 412, 415 (9th Cir. 2006) (citing Jackson v. Virginia, 443 U.S.

11   307, 319 (1979)) (emphasis in original).

12         When considering a Rule 33 motion for a new trial based on the

13   sufficiency of the evidence, a court may grant a motion for a new

14   trial only if it “concludes that, despite the abstract sufficiency

15   of the evidence to sustain the verdict, the evidence preponderates

16   sufficiently heavily against the verdict that a serious miscarriage

17   of justice may have occurred . . . .”        United States v. A. Lanoy

18   Alston, D.M.D., P.C., 974 F.2d 1206, 1211–12 (9th Cir. 1992)

19   (quoting United States v. Lincoln, 630 F.2d 1313, 1319 (8th

20   Cir.1980)).

21                             II.    Counts 3-4 and 8-10

22         Eddings incorporates by reference his arguments with regard to

23   these counts from his pre-judgment Motion for Acquittal (Doc. #

24   135).   The Court denied that motion on November 21, 2011 (Doc. #

25   157).   For the same reasons discussed in the Court’s November 21

26   order, Eddings’s current motion is DENIED.
27   ///
28   ///


                                          2
         Case 2:09-cr-00074-JAM-AC Document 170 Filed 03/16/12 Page 3 of 6


 1                                 III. Counts 11 and 12

 2          Eddings argues that acquittal or a new trial on Counts 11 and

 3   12, both for mail fraud in violation of 18 U.S.C. § 1341, should be

 4   granted because the government did not produce evidence sufficient

 5   for a reasonable jury to find Eddings guilty beyond a reasonable

 6   doubt.1    At trial, the government presented evidence that Eddings

 7   engaged in a scheme to defraud creditors by filing for bankruptcy

 8   and then hiding assets from the bankruptcy court.            Eddings argues

 9   the mailings in Counts 11 and 12 were sent as a matter of course in
10   the bankruptcy proceeding, and were accordingly not part of a

11   scheme to defraud.      Eddings also argues that both mailings were

12   sent to Robert Brown, whom the government contends was not one of

13   Eddings’s creditors, and was thus not defrauded by the bankruptcy

14   scheme.

15          The government responds that the mailings in Counts 11 and 12

16   were mere jurisdictional requirements, and that the notices

17   identified in Counts 11 and 12 were essential parts of the scheme

18   to defraud.     The government contends that the first notice was

19   mailed to creditors to inform them of a stay, and that the second

20   notice was mailed to inform them of the discharge of Eddings’s

21   debts in bankruptcy.       This discharge was, the government, argues

22   the point of Eddings’s scheme to defraud.

23          To support a mail fraud charge, the mailings need not be an

24   essential part of the scheme, but they must be made or caused to be

25
     1
       18 U.S.C. § 1341 reads in pertinent part, “Whoever, having
26   devised . . . any scheme or artifice to defraud . . . for the
     purpose of executing such scheme or artifice or attempting so to do
27   . . . knowingly causes to be delivered by mail . . . any such
     matter or thing, shall be fined under this title or imprisoned not
28   more than 20 years, or both.”

                                           3
       Case 2:09-cr-00074-JAM-AC Document 170 Filed 03/16/12 Page 4 of 6


 1   made for the purpose of executing the scheme.             United States v.

 2   Mitchell, 744 F.2d 701, 703 (9th Cir. 1984) (citing United States

 3   v. Maze, 414 U.S. 395, 400 (1974); United States v. Bohonus, 628

 4   F.2d 1167, 1173 (9th Cir. 1980)).

 5        Eddings relies on Parr v. United States, 363 U.S. 370 (1960).

 6   In that case, the defendants were convicted of mail fraud in

 7   furtherance of a scheme to embezzle funds from a school district.

 8   Id. at 372-73.    The government in that case presented evidence that

 9   when the school district sent tax bills to taxpayers, the
10   defendants converted the payments sent back by the taxpayer to

11   their private use.    Id. at 375-76.     The Parr court found that the

12   school district tax bills were not sufficient to satisfy the

13   mailing requirement of mail fraud because the school district would

14   have sent the bills even if the scheme did not exist.          Id. at 391.

15   Eddings’s argument is that if the school district’s tax bills in

16   Parr were not the proper basis for a § 1341 conviction, then

17   neither are the bankruptcy notices in this case.

18        The Court finds Eddings’s argument unpersuasive.          In this

19   case, the evidence showed that Eddings filed bankruptcy, causing

20   the notices in Counts 11 and 12 to be sent by the court.              Unlike

21   the notices in Parr, if Eddings had not schemed to defraud his

22   creditors by misrepresenting his assets to the bankruptcy court, no

23   notices would have been sent.      Additionally, as the government

24   points out, Eddings supplied the list of creditors used by the

25   bankruptcy court.    Thus, Eddings caused the mailings to be sent by

26   the bankruptcy court.
27        Eddings also argues that the mailings in Counts 11 and 12 were
28   not the proper bases for a § 1341 conviction because both notices


                                         4
       Case 2:09-cr-00074-JAM-AC Document 170 Filed 03/16/12 Page 5 of 6


 1   were to Robert Brown, a witness for the government that was not one

 2   of Eddings’s creditors and was thus not defrauded personally.

 3   Eddings, citing United States v. Lazarenko, 564 F. 3d 1026, 1036

 4   (9th Cir. 2009), argues that the mailings were too early and too

 5   late to be considered part of the scheme to defraud.          The

 6   government responds that § 1341 only requires that the mailings are

 7   used in connection with the fraud, not that the recipient was a

 8   victim.   The government argues that the first mailing put creditors

 9   on notice that Eddings sought discharge of his debts, and the
10   second alerted them that the debts were discharged making both

11   mailings central to Eddings’s scheme to defraud his creditors.

12         The Court agrees with the government’s arguments.         In this

13   case, the evidence showed that the mailings achieved the ends of

14   the scheme by informing creditors that their debts against Eddings

15   were discharged.    The bankruptcy mailings were used to further the

16   scheme to defraud, and the mailings to Mr. Brown meet the

17   jurisdictional element of § 1341.       See Neder v. United States, 527

18   U.S. 1, 20–21 (1999) (holding that the mailing requirement is

19   jurisdictional in nature, but the activity criminalized by § 1341

20   is the scheme to defraud).

21         Eddings’s reliance on Lazarenko is misplaced.         In that case,

22   the wires at issue occurred three or four years after the

23   defendant’s scheme to defraud ended.       Lazarenko, 564 F.3d at 1036.

24   In this case, the bankruptcy mailings were mailed as part of the

25   bankruptcy proceedings, which the evidence fairly showed were the

26   main vehicle by which Eddings discharged his debts while concealing
27   assets in order to defraud his creditors.
28   ///


                                         5
       Case 2:09-cr-00074-JAM-AC Document 170 Filed 03/16/12 Page 6 of 6


 1                                            IV.   ORDER

 2          For the reasons discussed above, the Court finds that the

 3   evidence adduced at trial was sufficient for a rational trier of

 4   fact   to   find   Eddings      guilty    beyond    a   reasonable   doubt   on   all

 5   charges.       The Court also finds that Eddings is not entitled to a

 6   new    trial    because   the    evidence       does    not   preponderate   heavily

 7   against the verdict.         Accordingly, Eddings’s motion is DENIED in

 8   its entirety.

 9
10          IT IS SO ORDERED.

11   Dated: March 16, 2012                          ____________________________
                                                    JOHN A. MENDEZ,
12                                                  UNITED STATES DISTRICT JUDGE
13

14

15

16

17

18

19

20

21

22

23

24

25

26
27
28


                                                6
